






																  				

							 	



				


	



IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0137-09






STEVEN GREY, Appellant



v.



THE STATE OF TEXAS





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRD COURT OF APPEALS


HAYS COUNTY





	Hervey, J., filed a concurring opinion in which Meyers and Keasler, JJ., joined.    
       


CONCURRING OPINION 



	I agree that we should overrule Arevalo v. State, 943 S.W.2d 887 (Tex.Cr.App. 1997).  I also
agree with the dissenters in Arevalo that a "trial court has no discretion to deny a request for an
instruction [on a lesser-included offense] when [the Royster-Rousseau] test is met,[ (1)] but nothing
precludes a trial court from submitting an instruction even when this test is not met, provided the
elements of the lesser offense are included within the elements of the charged offense[ (2)] so as to give
adequate notice."  See Arevalo, 943 S.W.2d at 892-94 (Meyers, J., dissenting) (emphasis in original)
and at 890-92 (McCormick, P.J., dissenting).  With these comments, I join the Court's opinion.


									Hervey, J.


Filed: November 18, 2009

Publish
1. 	This rule for determining when a trial court must submit a lesser-included-offense instruction
apparently is based on federal due process, at least in death-penalty cases.  See Beck v. Alabama, 447
U.S. 625, 633-38 (1980); Keeble v. United States, 412 U.S. 205, 208, 212-13 (1973); Arevalo, 943
S.W.2d at 890-91 (McCormick, P.J., dissenting) and at 892 n.1 (Meyers, J., dissenting). 
2. 	See Hall v. State, 225 S.W.3d 524 (Tex.Cr.App. 2007).


